Case 1:20-cv-04834-KAM-RML Document 13 Filed 10/09/20 Page 1 of 15 PageID #: 554




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  AGUDATH ISRAEL OF AMERICA, AGUDATH ISRAEL OF
  KEW GARDEN HILLS, AGUDATH ISRAEL OF MADISON,
  AGUDATH ISRAEL OF BAYSWATER, RABBI YISROEL
  REISMAN, RABBI MENACHEM FEIFER, STEVEN
  SAPHIRSTEIN,                                               Civil No. 1:20-cv-04834 (KAM)

                                               Plaintiffs,

        vs.

  GOVERNOR ANDREW CUOMO

                                              Defendant.


     REPLY BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR A TEMPORARY
            RESTRAINING ORDER AND PRELIMINARY INJUNCTION
Case 1:20-cv-04834-KAM-RML Document 13 Filed 10/09/20 Page 2 of 15 PageID #: 555




        Given the press of time, Plaintiffs raise the following four brief points in response to

 Defendant’s opposition.1

        First, that Defendant chose to impose these restrictions just two days before three important

 Jewish holidays calls out for immediate relief in time for Plaintiffs to be able to celebrate these

 holidays. Defendant’s brief entirely ignores the devastating burden his restrictions impose on

 members of the Jewish community, fails to acknowledge that he announced his order only days

 before these sacred religious holidays, and does not explain the timing of his order as it impacts

 the only religious minority singled out in his press conference. In announcing the restrictions,

 Defendant repeatedly singled out by name only the Orthodox Jewish community. That targeting

 of a religious minority on the eve of its holidays is reason enough to reject all of Defendant’s

 arguments and allow Plaintiffs to celebrate their holidays this weekend as they have for over 2,000

 years. See Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights Comm’n, 138 S. Ct. 1719 (2018);

 Church of Lukumi Babalu Aye v. City of Hialeah, 508 U.S. 520, 546 (1993). According to

 Defendant this morning, “[t]he cluster is predominantly an ultra-orthodox cluster.”            Carl

 Campanile, Cuomo Calls COVID-19 Resurgence an ‘Ultra-Orthodox’ Jewish Problem, NYPost

 (Oct. 9, 2020), https://nypost.com/2020/10/09/gov-cuomo-ny-covid-19-spike-an-ultra-orthodox-

 jewish-problem/.

        Again, Defendant singled out “the ultra-Orthodox community” repeatedly, threatening to

 “close the [religious] institutions down” if the community “do[es] not agree to enforce the rules.”

 Schick Decl. Ex. A at 8. Defendant openly admits that his red-lined restricted zones apply to

 “communities [that] have a large Orthodox population,” Schick Decl. Ex. F at 8, discrimination



 1
   Plaintiffs note that Defendant relies extensively on the declaration of Howard Zucker in his
 opposition. As of 12:50 pm, Defendant has neither filed nor served that declaration on Plaintiffs,
 depriving Plaintiffs the opportunity to review and respond to any of the assertions therein.
                                                 2
Case 1:20-cv-04834-KAM-RML Document 13 Filed 10/09/20 Page 3 of 15 PageID #: 556




 that is all the more blatant as Defendant has failed to identify the objective metrics that define

 when a neighborhood is placed into a red, orange or yellow zone that restricts religious practice.

         Members of the Jewish faith already are feeling the grave effects of Defendant’s last-

 minute restrictions. Because of Defendant’s strict gathering limitations on houses of worship,

 synagogues must choose which congregants can participate in religious prayer and ritual under

 Defendant’s strict limitations, which render it impossible for all congregants to participate in

 services. As Rabbi Eytan Feiner of the White Shul announced to his congregants late last night,

 Jews are “hurting beyond words” because of Defendant’s restrictions, as he, like numerous others,

 “must inform all our dear members and mispallelim [worshippers] that our beloved Shul will not

 be available” for more than “a single Minyan of just ten (pre-authorized) people.” Exhibit A,

 Rabbi Eytan Feiner, Closed White Shul Closes Ahead of New Restrictions Effective Friday

 Morning (Oct. 8, 2020), https://5townscentral.com/2020/10/08/closed-white-shul-closed-ahead-

 of-new-restrictions-effective-friday-morning/.

         The singling out of the Orthodox community in announcing the restrictions also has

 spurned other acts of discrimination, as businesses have begun to discriminate against Orthodox

 Jews even outside the restricted zones. See Exhibit B, THANKS CUOMO: Hasidic Jews Refused

 Entry       at      Newburgh,         NY         Bowling      Alley       (Oct.      8,       2020),

 https://www.theyeshivaworld.com/news/featured/1907891/thanks-cuomo-hasidic-jews-refused-

 entry-at-newburgh-ny-bowling-alley.html.

         Second, even beyond Defendant’s targeting of Orthodox Jews, in particular, and contrary

 to the inaccurate claims in his Opposition, Def. Br. 19, Defendant’s restrictions discriminate on

 their face against all religious practice by imposing certain restrictions on “houses of worship” and

 different rules on secular conduct. Despite admitting that mass gatherings, in general, present risks



                                                   3
Case 1:20-cv-04834-KAM-RML Document 13 Filed 10/09/20 Page 4 of 15 PageID #: 557




 to the spread of COVID-19, Defendant singled out “[r]eligious institutions” as “the greatest

 potential” risk and posted pictures of religious gatherings—not even from during the pandemic.

 Schick Decl. Ex. A at 6–7, Ex. F at 8.

        Incredibly, Defendant argues that his restrictions are more favorable to religion than secular

 conduct, Def. Br. 16, but his order proves otherwise. Defendant’s restrictions afford more

 favorable rules to schools, offices, malls, and other “essential” gatherings where individuals

 congregate and remain in close proximity for extended periods of time.2 Pls. Br. 15–16. Indeed,

 Defendant’s order fails to define the “essential gatherings” that are exempted from any

 limitations, even in a red zone where houses of worship of any size are limited to occupancy of

 10. Schick. Decl. Ex. E at 2.

        Defendant wrongly states in his brief that the restrictions exempt only essential businesses,

 Def. Br. 12 n.11, but the plain language of his order restricts only “non-essential gatherings,”

 thereby affording Defendant carte blanche authority to allow an undefined category of gatherings

 in unspecified numbers of individuals if Defendant decides the gathering is “essential.” Moreover,

 in the “Orange Zone” houses of worship are limited to 25 individuals, while offices, malls, and

 retail stores can open at 50% of capacity. Pls. Br. 15–16. And schools can open at 100% capacity

 in the “Yellow Zone”—a much more favorable rule than the 50% capacity imposed on houses of

 worship. Pls. Br. 15. Such permitted secular conduct that “threaten defendants’ interest in slowing

 the spread of COVID-19 to a similar or greater degree than those of” houses of worship




 2
   Association of Jewish Camp Operators v. Cuomo, 2020 U.S. Dist. LEXIS 117765 (N.D.N.Y.
 July 6, 2020), involved a distinguishable challenge to restrictions to overnight camps. Defendant’s
 restrictions on their face applied equally to religious and non-religious camps, and the court
 decided permitted secular activity was dissimilar to overnight camps, which involve close sleeping
 quarters.

                                                  4
Case 1:20-cv-04834-KAM-RML Document 13 Filed 10/09/20 Page 5 of 15 PageID #: 558




 demonstrates that, as in Soos, 2020 U.S. Dist. LEXIS 111808, *29–30, Defendant’s restrictions

 discriminate on the basis of religious practice.

        Third, Plaintiffs wrongly argue that Jacobson v. Commonwealth of Massachusetts, 197

 U.S. 11 (1905), and South Bay United Pentecostal Church v. Newsom, 140 S. Ct. 1613 (2020), do

 not permit this Court to invalidate discriminatory restrictions on religious practice, including

 ones—like those here—designed to target a religious minority.

        Jacobson did not address a Free Exercise Clause challenge at all and does not free the Court

 from deciding whether the statute is discriminatory against religious practice. Numerous courts

 considering the issue have applied traditional First Amendment scrutiny to such challenges, and a

 court must determine whether a restriction discriminates against religion. See Roberts v. Neace,

 958 F.3d 409, 413–16 (6th Cir. 2020); Maryville Baptist Church, Inc. v. Beshear, 957 F.3d 610

 (6th Cir. 2020); Soos v. Cuomo, 2020 U.S. Dist. LEXIS 111808, *29–30 (N.D.N.Y. June 26, 2020);

 On Fire Christian Ctr. v. Fischer, 2020 U.S. Dist. LEXIS 65924 (W.D. Ky. Apr. 11, 2020).

        Nor is South Bay “dispositive,” Def. Br. 10, as Defendant wrongly argues. The case was

 before the Court on a request for injunctive relief after the district court refused to enjoin the

 challenged conduct. 140 S. Ct. at 1613–14. As the Chief Justice emphasized in his concurring

 opinion, the Court’s decision in South Bay was based upon the highly deferential approach the

 Supreme Court takes to district court decisions that deny a motion for a preliminary injunction:

 “Such a request demands a significantly higher justification than a request for a stay because,

 unlike a stay, an injunction does not simply suspend judicial alteration of the status quo but grants

 judicial intervention that has been withheld by lower courts.” Id. (citation omitted) (emphasis

 added). The present case is the moment to which the Supreme Court said it would defer: a decision

 by a “lower court” whether to give relief.



                                                    5
Case 1:20-cv-04834-KAM-RML Document 13 Filed 10/09/20 Page 6 of 15 PageID #: 559




        Further, the discrimination here is far clearer than in South Bay, such that the decision by

 the South Bay district court should not guide this Court’s analysis. As explained in Plaintiffs’ brief

 and above, Defendant’s actions here discriminate against religious gatherings vis-à-vis the

 undefined category of “essential gatherings.” Pls. Br. 16; Schick Decl. Ex. E at 2. Nor was the

 explicit singling out of religion in imposing restrictions at issue in South Bay, as is present here

 and is discussed further below.3

        Finally, Defendant’s discriminatory restrictions fail strict scrutiny; indeed, they are so

 irrational that they would fail even Jacobson’s “arbitrary and oppressive” standard, if that standard

 applied here. Defendant has shown no criteria whatsoever for the metrics that trigger his

 gerrymandered zones that would even begin to prove that the restrictions are narrowly tailored.

 Nor has Defendant even attempted to set forth evidence that Plaintiffs’ synagogues have not

 complied with his existing gathering and health regulations or that Plaintiffs have caused spread

 of COVID-19. The only evidence proves the opposite. Pls. Br. 11. Defendant’s massively

 underinclusive restrictions favoring comparable secular activity show that less restrictive means



 3
   Defendant also erroneously relies upon Calvary Chapel Dayton Valley v. Sisolak, 2020 WL
 4260438 (D. Nev. June 11, 2020), but that case is inapplicable. In Calvary Chapel, the plaintiff
 challenged an order that limited in-person church services to 50 persons or less, the same capacity
 limitation that applied to all public gatherings in any indoor or outdoor spaces and movie theaters,
 while casinos were permitted to operate at 50% capacity. Id. at *1. But casinos also faced
 substantial government-issued restrictions and limitations “in addition to” the requirements of the
 Emergency Directive. Id. at *3. On this basis, the court concluded the order was “neutral and
 generally applicable,” and did not treat secular activity more favorably than religious services. Id.
 Here, Defendant’s order omits from its regulatory sphere any “[ ]essential gatherings,” instead
 limiting only “[n]on-essential gatherings” in each of the “zones.” Schick Decl. E at 2. Thus, by
 its very text the order permits open-ended “essential gatherings” even in areas where religious
 observers are severely regulated. The order never explains why it “permit[s] people who practice
 social distancing and good hygiene in one place but not another for similar lengths of time,”
 Roberts, 958 F.3d at 416, and such a distinction disfavoring religion is plainly contrary to the First
 Amendment. Therefore, unlike in Calvary Chapel, where Nevada’s officials at least arguably
 placed religious practice and secular activity on equal footing, Defendant’s discrimination here
 merits this Court’s entering a temporary restraining order.

                                                   6
Case 1:20-cv-04834-KAM-RML Document 13 Filed 10/09/20 Page 7 of 15 PageID #: 560




 are available to curb the spread of COVID-19 than an arbitrary cap on the number of protectioners

 allowed to attend religious services. Defendant’s patent targeting religious conduct for restriction

 smacks of arbitrariness and oppression, which is particularly true given Defendant’s admission

 that such restrictions purportedly are necessary because of the government’s lack of enforcement

 of prior laws, reasoning that “[m]oving forward, I’m not going to pass more laws that are not

 enforced.” Schick Decl. Ex. F at 7. Draconian shutdown measures against religious institutions

 cannot possibly be narrowly tailored, and are arbitrary and oppressive, where even Defendant

 concedes less restrictive means are available but may not have worked because of the

 government’s (and not Plaintiffs’) inaction.



        This 9th day of October, 2020.

                                                /s/ Avi Schick
                                                Avi Schick
                                                avi.schick@troutman.com

                                                TROUTMAN PEPPER HAMILTON SANDERS LLP
                                                875 Third Avenue
                                                New York, NY 10022
                                                (212) 704-6000

                                                Misha Tseytlin (NY Bar No. 4642609)
                                                misha.tseytlin@troutman.com
                                                *Pro Hac Vice Application Forthcoming
                                                W. Alex Smith (Ga. Bar No. 532647)
                                                alex.smith@troutman.com
                                                *Pro Hac Vice Application Forthcoming
                                                Sean T.H. Dutton (IL Bar No. 6319132)
                                                sean.dutton@troutman.com
                                                *Pro Hac Vice Application Forthcoming
                                                Kevin M. LeRoy (WI Bar No. 1105053)
                                                kevin.leroy@troutman.com
                                                *Pro Hac Vice Application Forthcoming

                                                Attorneys for Plaintiffs


                                                   7
Case 1:20-cv-04834-KAM-RML Document 13 Filed 10/09/20 Page 8 of 15 PageID #: 561




                    EXHIBIT A
10/9/2020Case     1:20-cv-04834-KAM-RML
                              CLOSED: White ShulDocument      13NewFiled
                                                 Closes Ahead of           10/09/20
                                                                   Restrictions             Page
                                                                                Effective Friday    9 of| 515
                                                                                                 Morning       PageID
                                                                                                            Towns Central #: 562


    CLOSED: White Shul Closes Ahead of New Restrictions
    Effective Friday Morning
    By 5TC Team - October 8, 2020




    Hoshana Rabba 5781/Erev Shabbos and Yom Tov, October 8, 2020




    Lichvod Dearest White Shul Members, amu”sh:


    Shalom U’vrachah, Good Evening, and wishing you all a Gutten Kvittel this Hoshana Rabba.


    We sincerely apologize for the delay in sending this message.


    Times are extremely difficult these days, and the governor’s recent severe restrictions are
    weighing on us quite heavily. Rabbonim have been putting in a great deal of time and
    energy (and tefillos…) to deal with the many issues at hand. While we are davening
    fervently that we hear of a favorable ruling tomorrow afternoon (for a temporary
    restraining order) in response to Agudath Israel of America’s request, we must also deal
    appropriately and responsibly with the present reality on hand.


    We at the White Shul- along with other Rabbonim- feel strongly that it is incumbent upon us
    to adhere to the current guidelines issued by the governor– which sadly mandate that only
    a single Minyan of just ten people is permitted in our building at any one time.
    Compounding the difficulty is the governor’s current restriction that only one small Minyan
    is allowed on the entire Shul premises, thereby disallowing use of the outdoor davening
    areas as well.


https://5townscentral.com/2020/10/08/closed-white-shul-closed-ahead-of-new-restrictions-effective-friday-morning                   1/3
        Case
10/9/2020        1:20-cv-04834-KAM-RML        Document
                              CLOSED: White Shul Closes Ahead 13
                                                              of NewFiled   10/09/20
                                                                     Restrictions            Page
                                                                                  Effective Friday   10 of
                                                                                                   Morning | 5 15 PageID
                                                                                                               Towns Central #: 563

    To summarize our paramount concerns and the need for full compliance:


    1. We must do our part in helping stem the current uptick, flatten the curve, and keep
       everyone safe and healthy so Yeshivos and Shuls can all fully open soon– and safely
       remain open.

    2. We must do our absolute utmost to prevent any slight Chillul Hashem and also preclude
       any and all possible ei’vah, any animosity, from all those scrutinizing the actions and
       behavior of Orthodox Jews at this time.

    3. We have already been recently visited by officials from the Department of Health (DOH),
       and have been warned that both the mayor and governor will likely be sending
       representatives to our neighborhood– with a threat of imposing fines up to $15,000 for
       any violations of the governor’s executive order. In addition to the primary concerns of
       preventing any Chillul Hashem and not arousing any animosity, we are also ‫חס על ממונן של‬
       ‫ישראל‬.


    Even having to pen this e-mail pains us immeasurably. We are hurting beyond
    words. Hashem Yerachem Aleinu. We most certainly must continue to daven as passionately
    as possible for a yeshuah gedolah bi’karov and a quick end to all our tzaros and difficulties.
    But we also must do that which we feel is the right thing to do at this time, and work
    endlessly to always be ‫מקדש שם שמים תמיד ולעולם‬.


    In light of the above, we sadly must share with you the following:


       Beginning TOMORROW morning, Hoshana Rabba Shacharis, there will only be a
       single Minyan of just ten (pre-authorized) people taking place on our
       Shul’s premises. We are still working on details, but must inform all our dear members
       and mispallelim that our beloved Shul will not be available for any additional Minyanim
       tomorrow and until further notice.            Most unfortunately, there will not be regular
       Minyanim on the Shul grounds at this time.

       Those individuals who need to retrieve Tallis/Tefillin, Seforim, or any other personal
       belongings, please feel free to enter the Shul for the sole purpose of retrieving those
       items, but please ensure there are no more than five people inside the Shul at any time.
       We remind everyone that masks (covering both mouth and nose) must be worn
       whenever one enters the Shul building, and we reiterate our previous strong
       recommendation for all to don a mask anytime you are in any public area.

       We daven and ask for your understanding, patience, and compliance, and implore you to
       seek other available options for Tefillah B’Tzibbur. One may daven at a safe (mask
       mandatory) and legal outdoor Minyan (backyard/porch) at this time, and indeed one may
       daven B’yechidus if Tefillah B’Tzibbur proves too difficult or impractical at this junction.


    May HaKB”H answer all of our heartfelt tefillos and bakashos in the very near future, and
    may we merit to share only besuros tovos in this and all areas henceforth ‫אי”ה‬.


    We will certainly keep you updated and informed of any important details and changes as
    they arise. Please always feel free and comfortable to contact either one of us for questions
    or Chizzuk— it is our pleasure to assist in any way possible.


https://5townscentral.com/2020/10/08/closed-white-shul-closed-ahead-of-new-restrictions-effective-friday-morning                      2/3
        Case
10/9/2020        1:20-cv-04834-KAM-RML        Document
                              CLOSED: White Shul Closes Ahead 13
                                                              of NewFiled   10/09/20
                                                                     Restrictions            Page
                                                                                  Effective Friday   11 of
                                                                                                   Morning | 5 15 PageID
                                                                                                               Towns Central #: 564

    With warmest regards and very best wishes for a Gut Kvittel and only Kol Tuv always,


    Rabbi Eytan Feiner


    Rabbi Motti Neuburger




https://5townscentral.com/2020/10/08/closed-white-shul-closed-ahead-of-new-restrictions-effective-friday-morning                      3/3
Case 1:20-cv-04834-KAM-RML Document 13 Filed 10/09/20 Page 12 of 15 PageID #: 565




                     EXHIBIT B
        Case
10/9/2020       1:20-cv-04834-KAM-RML      Document
                            THANKS CUOMO: Hasidic         13 Entry
                                                  Jews Refused Filed   10/09/20
                                                                   at Newburgh,     PageAlley
                                                                                NY Bowling 13- of
                                                                                               The15  PageID
                                                                                                   Yeshiva World #: 566


    THANKS CUOMO: Hasidic Jews Refused Entry at
    Newburgh, NY Bowling Alley
     October 8, 2020 1:18 am




    Special to YWN News:


    The repercussions of NY Governor Cuomo’s verbal assault Wednesday on the Hasidic and
    other Orthodox Jewish communities are already beginning to appear.


    A Newburg based bowling alley refused service to a number of Orthodox Jewish families on
    Wednesday afternoon. This was less than 24 hours after the governor’s controversial speech
    and draconian measures limiting synagogue services to ten people per synagogue in what
    he termed “red zones.”


    Approximately twenty un-related and un-connected families tried to go bowling when rain
    forced them to change their Chol HaMoed plans. Slightly after 2:15PM near Newburgh, NY,
    it began to rain.


    One family related their version of what had transpired:


    “We had planned a hike for today, when we got to the jump off point of the hike it started to
    raining,” the father in one group reported.



https://www.theyeshivaworld.com/news/featured/1907891/thanks-cuomo-hasidic-jews-refused-entry-at-newburgh-ny-bowling-alley.html   1/3
        Case
10/9/2020       1:20-cv-04834-KAM-RML      Document
                            THANKS CUOMO: Hasidic         13 Entry
                                                  Jews Refused Filed   10/09/20
                                                                   at Newburgh,     PageAlley
                                                                                NY Bowling 14- of
                                                                                               The15  PageID
                                                                                                   Yeshiva World #: 567

    They called a nearby bowling alley called Pat Tarsio Lanes at about 2:30 PM and were told
    that there were plenty of lanes open and that they should come down. They arrived
    between 3:00 and 3:15.


    The bowling alley is located at 173 South Plank Road (Rt. 52) in Newburgh.


    According to the family, when they arrived and staff members saw that they were orthodox
    Jews, they were refused lanes.


    “There must have been twenty families. Every single person was wearing a mask, and we
    were socially distancing,” the father said.


    Upon their arrival at Pat Tarsio Lanes, the family met some Hasidic families who warned
    them what would happen.


    “They will tell you that lanes are not available because they have leagues at 5:00 PM. We
    also called beforehand, and were told to come down and that there were plenty of lanes.


    “If the facts of what is alleged are true, it would be very troubling if this bowling alley was
    discriminating against Orthodox Jews who merely wished to bowl. This calls for an
    explanation by the owners as to why they were initially given permission to come and
    refused later on,” remarked Charles Miller, a New York City-based attorney.


    Pat Tarsio Lanes has been open for over sixty years. Their website states: Originally
    constructed in 1959 by Pat Tarsio Sr., and Lou “Wrongfoot Louie” Campi, Campi-Tarsio
    Lanes quickly became a household name. Soon thereafter, Pat took sole ownership of the
    lanes, which was then re-named “Pat Tarsio Lanes.” Located on route 52 in Newburgh, NY,
    this local spot developed into a neighborhood favorite for serious bowlers and amateurs
    alike.


    And now, over 50 years later, his sons Tony and Pat continue to operate Tarsio lanes,
    preserving the same core values it was built on and valuing their customers as friends.”


    A phone call made to Pat Tarsio Lanes went unanswered.


    JOIN THE TENS OF THOUSANDS WHO ALREADY ARE ALERTED OF BREAKING NEWS
    LIKE THIS IN LIVE TIME:

https://www.theyeshivaworld.com/news/featured/1907891/thanks-cuomo-hasidic-jews-refused-entry-at-newburgh-ny-bowling-alley.html   2/3
        Case
10/9/2020       1:20-cv-04834-KAM-RML      Document
                            THANKS CUOMO: Hasidic         13 Entry
                                                  Jews Refused Filed   10/09/20
                                                                   at Newburgh,     PageAlley
                                                                                NY Bowling 15- of
                                                                                               The15  PageID
                                                                                                   Yeshiva World #: 568

    YWN WHATSAPP STATUS UPDATES: CLICK HERE to join the YWN WhatsApp
    Status.


    YWN WHATSAPP GROUPS: CLICK HERE to be dded to an official YWN WhatsApp
    Group.


    (YWN World Headquarters – NYC)




https://www.theyeshivaworld.com/news/featured/1907891/thanks-cuomo-hasidic-jews-refused-entry-at-newburgh-ny-bowling-alley.html   3/3
